                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                  3:04CR13-MU

UNITED STATES OF AMERICA            )
                                    )
vs.                                 )                       ORDER
                                    )
JASON MICHAEL AGARD                 )
____________________________________)

        This matter is before the court upon defendant’s Motion to Sever. It appears to the court
that this motion is now moot.
        IT IS THEREFORE ORDERED that defendant’s Motion to Sever is hereby DENIED AS
MOOT.




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                       Signed: October 11, 2005




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